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  IM *>,MM)<E:1.8A<:M             IM M8*3.>DJM
  *>,MM)M<E:2.8A<:M                     <4:MM8*3.>BIM
  "!M)'"M                       I:B35*M"M.BLM
  M!<EB.MM"B.M M                     M       
  *ABM>E:AG5,7MM M                <E>M*B.G*IM.:B.>M
                                 ME8+.@M"B>..BM
                                    .G*>7M.GM.>A.IM M
                                                
  "B.F.:MM<<>.M
  (5B3.>AG<>8-G5-.M                            !!
  M*ABM EB:*9MMF.:E.M"E5B.M M
  >..:G5,3M$M      M              >5,MM<+.:08-M
                                       %#M    
                                            M$35>-MF.:E.M
  "B.=3.:M(.5AA9*:M                        .GM)<>7M.GM)<>7M M
  (5885*9MM*F.>KM                           
  5,3*.8M .>>KM
  A38.IM5,73</M                          .:6*95:MM<8BM
  !M$$"M M                      >5:MM>*7.M
  $3.M(*?.>M                               *:5.8M*:-.A+.>2M
   M .;:AI8F*:5*MF.M(M                %#M        
  (*A35:2B<:MM  M                   M M M$35>D..:C3M"BM(M
  $.8M  M  M                      (*A35:2B<:MM  M
  *HM   M  M                          

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